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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

                                                    IN ADMIRALTY

  In the Matter of LUIS CAMEJO PEREZ, as
  Owner of the 2018 Contender Boats 39-foot
  Center Console Vessel bearing Hull
                                                                      CASE NO. 24-cv-20923-AHS
  Identification No. JDJ9V148B818,

          Petitioner.

      PETITIONER'S OBJECTION, ANSWER, AND AFFIRMATIVE DEFENSES
  TO CLAIM OF MERCURY MARINE, A DIVISION OF BRUNSWICK CORPORATION

          LUIS CAMEJO PEREZ ("Petitioner"), as Owner of the 2018 Contender Boats 39-foot

  center console vessel bearing Hull Identification No. JDJ9V148B818 (the "Vessel"), objects to

  the claims asserted by Mercury Marine, a division of Brunswick Corporation (“Mercury”), in

  this action, submits this Answer and Affirmative Defenses to Mercury's August 2, 2024 Claim

  [ECF No. 25], and states:

                     PETITIONER'S OBJECTION TO CLAIMS OF MERCURY

          Petitioner objects to the claims filed against him by Mercury and demands strict proof as

  to each and every element thereof. Petitioner further reserves all defenses and objections to the

  claims of Mercury.

                       PETITIONER'S ANSWER TO CLAIMS OF MERCURY

          1.        Admitted.

          2.        Admitted.

          3.        Admitted only that Mr. Garcia was piloting the Vessel on the date alleged when it

  veered sharply to one side and ejected all of the occupants onboard. Further admitted that Mr.

  Garcia died as a result of the subject incident. All other allegations are denied.



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          4.        Denied, including all allegations in subparts (a.) through (j.).

          5.        Denied.

          6.        Denied.

          7.        Denied.

          8.        Denied.

          9.        Denied.

          10.       Denied.

          11.       Denied.

          12.       Denied.

          13.       Denied.

          14.       Denied.

          15.       Denied.

          16.       Denied.

          17.       Denied.

          18.       Denied.

          19.       Denied.

          PETITIONER'S AFFIRMATIVE DEFENSES TO CLAIMS OF MERCURY

          1.        Mercury's claims fail to state a claim upon which relief can be granted against

  Petitioner.

          2.        The incident and any injuries and/or damages alleged were caused by the

  intervening, interceding and/or superseding and unforeseeable acts or omissions of other persons,

  parties, and/or entities over whom Petitioner had no control or responsibility for, and for whose

  actions Petitioner is not liable, including but not limited to the actions of Mercury, which

  manufactured the subject engines and placed them into the stream of commerce.


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           3.        The incident and any injuries and/or damages alleged were proximately caused, in

  whole or in part, by separate, distinct, and/or unrelated actions, events, or accidents, which are

  distinct, unrelated, and/or remote (either prior or subsequent) to any alleged act or omission of

  this Petitioner.

           4.        Mercury's claims against Petitioner fail as a matter of law because Mercury has

  suffered no cognizable damages and its claims are premature.

           5.        Mercury's claims against Petitioner fail as a matter of law because Mercury was

  responsible, wholly or in part, for causing the incident and all injuries and damages arising from

  it.

           6.        Mercury's claims against Petitioner fail as a matter of law because Petitioner was

  not responsible, neither wholly nor in part, for causing the incident or any of the injuries and

  damages arising from it.

           7.        Petitioner is entitled to a credit and/or setoff from any and all benefits paid and/or

  payable to any claimants, and any and all other benefits, collateral sources or other sources of

  setoffs or recoupments and therefore claims said setoffs, credits, and recoupments in accordance

  with Florida Statute § 768.76.

           8.        Petitioner is entitled to a setoff in the full amount of all settlements and any other

  compensation that claimants have received from any other persons or entities, or may receive, as

  a result of the injuries and damages which are alleged to have occurred in this claim.

           9.        Mercury has comparative fault because it directly and proximately contributed to

  the happening of said alleged injuries, losses and damages, if any, and any damages that may be

  awarded to Mercury must therefore be reduced in proportion to Mercury's own comparative

  fault.




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            10.       Mercury's claims are governed by general maritime law of the United States and

  any recovery is limited by general maritime law.

            11.       To the extent applicable, any award of damages to Mercury must be reduced or

  set off to account for any and all monies paid to Mercury or on its behalf by third parties or

  collateral sources, including any payments from insurance providers, or any other sources,

  relating in any way to this action.

             12.      Mercury's recovery, if any, is limited to the post-incident value of the subject

  vessel pursuant to the federal Limitation of Shipowners' Liability Act, 46 U.S.C. §§ 30501 et

  seq.

            13.       Petitioner is entitled to all privileges and immunities enjoyed by the tortfeasor

  under any modification of joint and several liability statutes, as well as all apportionment and

  periodic payments of judgment statute.

            14.       Mercury's claims are barred in whole, or in part, by the doctrines of laches,

  waiver, estoppel, and/or unclean hands.

            15.       Petitioner is entitled to indemnity and/or contribution from the claimants or other

  component part manufacturers and distributors for the subject Vessel and its engines.

            WHEREFORE, Petitioner respectfully requests that this Court:

             (a)      enter a judgment finding that Petitioner and the Vessel and its appurtenances are

  not liable for any losses, damages, deaths, injuries, destruction, or any other claim whatsoever

  arising from the Incident and, accordingly, exonerating Petitioner from any and all liability

  which has been or may be claimed against it as a result of the Incident or, in the alternative, if

  any such liability is found to exist, limiting Petitioner's liability to the amount of the value of

  Petitioner's interest in the Vessel, its appurtenances, and pending freight immediately after the




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  Incident and directing that any such potential award be divided pro rata among such claimants as

  may duly prove their claims before this Court, saving to all parties any priorities that they may be

  legally entitled to, and that judgment be entered discharging Petitioner, the Vessel, and its

  appurtenances of and from all further liability and forever enjoining and prohibiting the filing

  and prosecution of any claims against Petitioner or its property in consequence of or in

  connection with the Incident or any other matters and happenings referred to in this Petition; and

         (b) grant any such other and further relief deemed just and proper under the

  circumstances.

                                                          Respectfully submitted,

                                                          /s/ Victor J. Pelaez
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